Case 1:21-cr-00628-ABJ Document 69 Filed 10/27/22 Page 1of1

CO 109A - Rev. 3/2010

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

 

 

)
)
vs. ) Civil/Criminal No.; _21-CR-628 (ABJ)
)
MICHAEL ANGELO RILEY )
FILED
OCT 27 2022
NOTE FROM JURY .
Clerk, U.S. District and
Bankruptcy Courts

 

 

 

 

 

 

 

Date: hfe tL2022 .
Time: 3: /F am
